           Case 2:20-cv-01226-RSL Document 15 Filed 09/16/20 Page 1 of 2




 1                                                   THE HONORABLE ROBERT S. LASNIK

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 8                          UNITED STATES DISTRICT COURT
                      FOR THE WESTERN DISTRICT OF WASHINGTON
 9                                   AT SEATTLE
10

11
     KATHERINE E. EDWARDS, a single
12   person,
                                                           NO. 2:20-CV-01226-RSL
                           Plaintiff,
13                                                         ORDER TO EXTEND DEADLINE OF
                    vs.                                    INITIAL DISCLOSURES PURSUANT
14                                                         TO FRCP 26(a)(1)
     STATE FARM MUTUAL AUTOMOBILE
15   INSURANCE COMPANY, a foreign
     insurer,
16
                           Defendant.
17

18                                                ORDER
19          Based on the Joint Stipulated Motion to Extend Deadline for FRCP 26(a)(1) Initial
20   Disclosures in this matter, IT IS HEREBY ORDERED that the deadline for FRCP 26(a)(1)
21   Initial Disclosures is extended to October 2, 2020.
22   //
23   //
24

25


      ORDER TO EXTEND DEADLINE OF                                 WAKEFIELD & KIRKPATRICK, PLLC
                                                                  A T T O R N E Y S       A T    L A W
      INITIAL DISCLOSURES PURSUANT TO FRCP 26(a)(1) - 1           17544 MIDVALE AVENUE NORTH, SUITE 307
      (Case No. 2:20-CV-01226-RSL)                                SHORELINE, WA 98133
                                                                  (206) 629-5489 FAX (206) 629-2120
          Case 2:20-cv-01226-RSL Document 15 Filed 09/16/20 Page 2 of 2




            Dated this 16th day of September, 2020.
 1

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 4                                             UNITED STATES DISTRICT COURT JUDGE
 5                                                      ROBERT S. LASNIK

 6   Presented by:

 7   WAKEFIELD & KIRKPATRICK, PLLC
 8

 9
     By
10     Scott C. Wakefield             WSBA #11222
11     Dan R. Kirkpatrick             WSBA #38674
       Attorneys for Defendant State Farm Mutual Automobile Insurance Company
12

13
     Copy Received, Approved as to Form;
14   Notice of Presentation Waived:
15

16   By   s/ Kyle C. Olive
       Kyle C. Olive                    WSBA #35552
17     Attorneys for Plaintiff Katherine E. Edwards

18

19   Copy Received, Approved as to Form;
     Notice of Presentation Waived:
20

21
     By s/ Jennifer C. Gogert
22     Jennifer C. Gogert               WSBA #32282
       Attorneys for Plaintiff Katherin E. Edwards
23

24

25


     ORDER TO EXTEND DEADLINE OF                               WAKEFIELD & KIRKPATRICK, PLLC
                                                               A T T O R N E Y S       A T    L A W
     INITIAL DISCLOSURES PURSUANT TO FRCP 26(a)(1) - 2         17544 MIDVALE AVENUE NORTH, SUITE 307
     (Case No. 2:20-CV-01226-RSL)                              SHORELINE, WA 98133
                                                               (206) 629-5489 FAX (206) 629-2120
